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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

       VS.                                               Case No. 3:88-cr-215-J-12

BILLY JOE McCLAlN



                                         ORDER

       This cause is before the Court on the Defendant's "Petition for Rehearing Seeking

Order to Amend Judgment" (Doc.1726), filed August 24,2005, seeking reconsideration of

the Court's Order (Doc.1725) denying his petition to reopen sentence (Doc.1714). On

September 15, 2005, the Government's response in opposition (Doc.1728) was filed.

       In his motion to reopen sentence (Doc.1714), the Defendant asked the Court to

reconsider his sentence in light of the fact that one of the convictions used to calculate his

criminal history score was subsequently vacated, pursuant to 18 U.S.C. §§ 3582(c)(l)(B)

and 3559(c)(7). For the reasons set forth in that Order (Doc.1725), the Court found that

the Defendant was not entitled to relief and denied his petition.

       The Court did not construe his petition to reopen sentence as a motion for post-

conviction relief pursuant to 28 U.S.C. S2255, because the ground he raised in requesting

reopening of his sentencing proceeding, that is, that one of the convictions used to

calculate his criminal history category was subsequently vacated, is properly considered

pursuant to 18 U.S.C. 93559(c)(7). The Court did note that several additional challenges

the Defendant attempted to make in his reply brief amounted to challenges to his

conviction and sentence properly brought pursuant to 28 U.S.C. § 2255. The Court also
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noted that the Defendant is required to seek permission from the Eleventh Circuit Court of

Appeals in order to make such successive challenges at this juncture.

       The Defendant now seeks reconsideration of the Court's Order (Doc.1725),

asserting that because he was sentenced to a mandatory life sentence, the Court did not

properly considerthe vacated conviction in declining re-sentence him. As the Government

points out in its response, the Defendant was not sentenced to a mandatory life sentence,

but to the upper end of the applicable range of 360 months to life. There is simply no basis

for relief pursuant to 18 U.S.C. §3559(c)(7). Again, if the Defendant seeks to raise

additional issues regarding his conviction and sentence, he must seek leave from the

Eleventh Circuit Court of Appeals to file a successive s2255 motion. Otherwise, the Court

is without jurisdiction to further review the Defendant's conviction and sentence.

Accordingly, it is

       ORDERED AND ADJUDGED:

       That the Defendant's "Petition for Rehearing Seeking Order to Amend Judgment"

(Doc. 1726) is denied.

       DONE AND ORDERED this             2         day of October 2005.




                                             SENIOR UNITED STATES DISTRICT JUDGE



Copies to:
Defendant
AUSA (Henry)
